           Case 1:16-vv-01712-UNJ Document 67 Filed 01/10/20 Page 1 of 3




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1712V
                                      (not to be published)


    ALCELO LUCARELLI,
                                                             Chief Special Master Corcoran
                         Petitioner,
    v.                                                       Filed: December 11, 2019


    SECRETARY OF HEALTH AND                                  Special Processing Unit                (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

         On December 29, 2016, Alceo Lucarelli (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”), alleging that, as a result of receiving an influenza
(“flu”) vaccination on October 20, 2014, he suffered a shoulder injury related to vaccine
administration (“SIRVA”). (See Petition at 1). On August 21, 2019, a decision was issued
by then-Chief Special Master Dorsey awarding compensation to Petitioner in the amount
of $80,380.54. (ECF No. 56).



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:16-vv-01712-UNJ Document 67 Filed 01/10/20 Page 2 of 3



       Petitioner has now filed a motion for attorney’s fees and costs, dated November
12, 2019, (ECF No. 60), requesting a total award of $34,820.50 (representing $31,712.70
in fees and $3,092.16 in costs). In accordance with General Order #9, counsel for
Petitioner filed a signed statement representing that Petitioner has incurred out-of-pocket
expenses in the amount of $15.64. (ECF No. 61). Respondent reacted to the motion on
November 13, 2019 indicating that he is satisfied that the statutory requirements for an
award of attorney’s fees and costs are met in this case and defers to the Court’s discretion
to determine the amount to be awarded. (ECF No. 63). Petitioner did not file a reply
thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award the following:

      Accordingly, petitioner is awarded the total amount of $34,820.50 3 as
follows:
         • A lump sum of $34,804.86, representing reimbursement for
            attorneys’ fees and costs, in the form of a check payable jointly to
            Petitioner and Petitioner’s counsel and

            •    A lump sum of $15.64, representing reimbursement for petitioner’s
                 costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
       Case 1:16-vv-01712-UNJ Document 67 Filed 01/10/20 Page 3 of 3



IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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